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 1   BOIES SCHILLER FLEXNER LLP
     RICHARD J. POCKER (NV Bar No. 3568)
 2   300 South Fourth Street, Suite 800
     Las Vegas, NV 89101
 3   Telephone: 702.382.7300
     Facsimile: 702.382.2755
 4   rpocker@bsfllp.com
 5   BOIES SCHILLER FLEXNER LLP
     SIGRID S. MCCAWLEY (admitted pro hac vice)
 6   401 E. Las Olas Blvd., Suite 1200
     Ft. Lauderdale, FL 33301
 7   Telephone: 954.356.0011
     smccawley@bsfllp.com
 8
     BOIES SCHILLER FLEXNER LLP
 9   SABINA MARIELLA (admitted pro hac vice)
     LINDSEY RUFF (admitted pro hac vice)
10   55 Hudson Yards
     New York, NY 10001
11   Telephone: 212.446.2300
     smariella@bsfllp.com
12   lruff@bsfllp.com
13   Attorneys for Plaintiffs Sage Humphries,
     Gina Menichino, RoseMarie DeAngelo,
14   Danielle Gutierrez, Jane Doe 1, and
     Jane Doe 2
15

16                               UNITED STATES DISTRICT COURT
17                                   DISTRICT OF NEVADA
18   SAGE HUMPHRIES, GINA MENICHINO,
     ROSEMARIE DeANGELO, DANIELLE
19   GUTIERREZ, JANE DOE 1,
     and JANE DOE 2                                Case Number: 2:21-cv-01412-ART-EJY
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                   Plaintiffs,                     DECLARATION OF SAGE
21                                                 HUMPHRIES IN SUPPORT
            vs.                                    OF PLAINTIFFS’ MOTION FOR
22                                                 SUMMARY JUDGMENT
     MITCHELL TAYLOR BUTTON and
23   DUSTY BUTTON,
24                 Defendants.
25

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                    DECLARATION OF SAGE HUMPHRIES IN SUPPORT OF
                     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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 1   I, Sage Humphries, declare as follows:
 2          1.     I am Sage Humphries, a Plaintiff in the above-captioned action.
 3          2.     Defendants have filed a defamation counterclaim against me for the following
 4   statements:
 5          They had complete control over me. If I wanted to do anything, I had to ask them
 6          first.

 7          They had control over my phone and passwords to my Instagram, my email.

 8          One day it was just us hanging out and the next I had no control over the
            activities that I did, even if it was just doing laundry or going to the grocery
 9          store.
10          By the time that it got really bad I was completely trapped.
11          I had a friend ask me if I was okay, and I was hyper-defensive because I was told
12          by my abusers to shut down any criticism of them.

13          This was calculated. These people are predators. This is a pattern.

14          Their friendship began in the studio. Then Dusty invited Sage to come to her
            apartment. The walls were painted black. In one room, a collection of guns was
15          displayed. That’s when Sage met Taylor.
16          Later, when he offered to manage her social media, it made sense to say yes.
17          Taylor got the passwords to Sage’s phone, email and accounts. That’s when he
18          started monitoring her communication. Infiltrating everything.

19          Now it’s interesting to me how the most evil people hid in plain sight, where no
            one would suspect.
20
            [Taylor] suggested that we all watch a movie together. [The Buttons] thought
21          we should all have one big group sleepover and bring the mattress out into the
            living room. I thought again that that was uncomfortable, so we just hung out
22
            we watched a movie and Dusty had fallen asleep. I was falling asleep and when
23          I was falling asleep that was the first time that [Mitchell] violated me. And, you
            think that you’re going to know to scream or to get up or to make a loud noise
24          or do anything to stop it from happening, but I just froze and my body just
            tightened and I just waited for it to be over.
25
            When they were all back in Boston, the couple barged in on her while she was
26          showering and told her she was now their girlfriend. It was not posed as a
27          question.

28          the pair had sex with Sage whenever they wanted, with[out] her consent.
                    DECLARATION OF SAGE HUMPHRIES IN SUPPORT OF
                     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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            …she had grabbed someone’s phone to message Taylor via Snapchat, who,
 1
            along with Dusty, was in Australia. According to the lawsuit, Taylor responded
 2          that he wanted to throw Sage in his van, tie her hands and feet, blindfold her,
            rent a warehouse, hang her from the ceiling, rape her, and leave her to die.
 3

 4          3.     These statements are true.

 5          4.     I subjectively believe these statements are true.

 6          5.     To the best of my knowledge and belief, I did not provide any information to

 7   reporters beyond information that was already accessible in my complaint against Defendants.

 8          I declare under penalty of perjury that the foregoing is true and correct to the best of my

 9   knowledge and belief.

10   Dated: January 6, 2025

11                                                    /s/ Sage Humphries
                                                      Sage Humphries
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                    DECLARATION OF SAGE HUMPHRIES IN SUPPORT OF
                     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
